        Case MDL No. 2875 Document 212 Filed 01/30/19 Page 1 of 1




                    BEFORE THE UNITED STATES JUDICIAL
                    PANEL ON MULTIDISTRICT LITIGATION

IN RE: VALSARTAN N-
NITROSODIMETHYLAMINE                                   MDL Docket No. 2875
(NDMA) PRODUCTS LIABILITY LITIGATION

                          NOTICE OF RELATED ACTIONS

       Pursuant to Rule 6.2(d) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, Plaintiff Karen Pollock hereby notifies the Clerk of the

Panel of the related action listed on the attached Schedule of Actions. Copies of the

docket sheet and the complaint are also attached. Plaintiff Karen Pollock’s complaint

involves common factual questions with those actions presently pending transfer to the

District of New Jersey on Plaintiff Robert Kruk’s Motion to Transfer Actions [D.E. 1].



Dated: January 30, 2019


                                              Respectfully submitted,


                                              /s/ Steven C. Babin, Jr.
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